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 TIFFANY BURTON, DENISA                     UNITED STATES DISTRICT COURT
 MESKOVIC, NATALIA LYNN                     EASTERN DISTRICT OF NEW YORK
 KENNEDY, WHITNEY HELEM,
 CORRINE LUCAS, COURTNEY                    CIVIL ACTION
 KAMARA, BRITTANY HARRIS, ANN
 ROBERTS, JANEL TURNER, ANDREA              2:22-cv-00691
 GRONDA, BENGINETTE PERRY,
 PRIXIE DINKENS, SARAH DUNCAN,              JURY TRIAL DEMANDED
 ALYSSA SULLIVAN, CORRINDA
 CROCKET, JASON STEFANO                     FIRST AMENDED COMPLAINT FOR
                                            VIOLATION OF: (I) THE FEDERAL
                  Plaintiffs,               FAIR LABOR STANDARDS ACT; (II)
                                            NEW YORK WAGE/HOUR LAW; AND
 v.                                         (III) THE FEDERAL AND NEW YORK
                                            WORKER ADJUSTMENT AND
 INTERCONTINENTAL CAPITAL                   RETRAINING NOTIFICATION ACT
 GROUP, INC.

                  Defendant.


      Pursuant to Fed.R.Civ.P. 8, Plaintiffs allege as follows.

                                 INTRODUCTION

      This is a complaint for unpaid overtime and other wage violations under the

Fair Labor Standards Act (“FLSA”) and the New York Wage/Hour Law (“NY Wage

Law”) and for failure to provide Plaintiffs with 60 days’ notice of their layoff under

the Federal Worker Adjustment and Retraining Notification Act (“WARN”) and its

New York analogue (“NY WARN”). For a period of approximately 2 years,

Defendant Intercontinental Capital Group Inc. (“ICG”) knowingly underpaid
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Plaintiffs on their paychecks for vast amounts of overtime. The paychecks

themselves set forth the triggering hours for overtime but simply failed to provide

the requisite overtime pay. In the last several months, ICG has instituted a layoff of

its “Consumer Direct Division” headquartered in New York, but ICG failed to

provide Plaintiffs with 60 days’ notice prior to the layoff, in violation of WARN and

NY WARN. Plaintiffs are therefore entitled to 60 days’ severance.

                                     PARTIES

      1.     Plaintiff Tiffany Burton is a resident of and domiciled in New York.

      2.     Plaintiff Denisa Meskovic is a resident of and domiciled in

Missouri.

      3.     Plaintiff Natalia Lynn Kennedy is a resident of and domiciled in

Arizona.

      4.     Plaintiff Whitney Helem is a resident of and domiciled in Missouri.

      5.     Plaintiff Corrine Lucas is a resident of and domiciled in

Pennsylvania.

      6.     Plaintiff Courtney Kamara is a resident of and domiciled in

Missouri.

      7.     Plaintiff Brittany Harris is a resident of and domiciled in Texas.

      8.     Plaintiff Ann Roberts is a resident of and domiciled in Missouri.

      9.     Plaintiff Janel Turner is a resident of and domiciled in Michigan.

      10.    Plaintiff Andrea Gronda is a resident of and domiciled in Michigan.

      11.    Plaintiff Benginette Perry is a resident of and domiciled in Illinois.


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      12.   Plaintiff Prixie Dinkens is a resident of and domiciled in Texas.

      13.   Plaintiff Sarah Duncan is a resident of and domiciled in Michigan

      14.   Plaintiff Alyssa Sullivan is a resident of and domiciled in Georgia.

      15.   Plaintiff Corrinda Crockett is a resident of and domiciled in North

Carolina.

      16.   Plaintiff Jason Stefano is a resident of and domiciled in Florida.

      17.   Defendant ICG is a corporation doing business in New York and

nationwide, with hundreds of employees. It is a lending institution focusing on

home loans. Its headquarters are (or were) in Melville, New York. Plaintiffs

were all paid and received overall direction and control from the headquarters

in Melville, New York.

                  SUBJECT MATTER JURISDICTION,
                PERSONAL JURISDICTION, AND VENUE

      18.   Pursuant to 28 U.S.C. § 1331, 1367(a), and Fed.R.Civ.P. 4, the

United States District Court for the Eastern District of New York has subject

matter and personal jurisdiction over ICG because this complaint arises under

the FLSA and WARN and ICG is located within the Eastern District of New

York. Pursuant to 28 U.S.C. § 1391(b), venue is proper in the Eastern District

of New York in Central Islip because that is within the county where ICG

resides.

                         FACTUAL BACKGROUND

      19.   From 2019 through 2021 and 2022, Plaintiffs were all loan

processors (or related positions) in the “Consumer Direct Division” of ICG

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(“Loan Processors”), except for Ms. Dinkens and Ms. Crockett, who were

underwriters (“Underwriters”), which is part of the “Consumer Direction

Division.”

I.       Unpaid overtime

         20.   The “Consumer Direct Division” of ICG was headquartered in

Melville, New York, but Plaintiffs worked from home remotely throughout the

United States. Though Plaintiffs worked remotely throughout the United

States, they were often on the same “teams” taking direction from the

headquarters in Melville, New York. For example, Ms. Burton and Ms. Harris

worked on the same “team” as Loan Processors from different states, but took

direction from Melville, New York.    An     ICG   organizational   chart   shows

multiple “teams” with members in multiple states all reporting to a “manager”

in Melville, New York.

         21.   During their employment with ICG, Plaintiffs incurred substantial

overtime from 2019 through the present for which they were not paid. The

actual overtime hours are set forth on Plaintiffs’ paystubs covering 14 or 15-day

periods, but it is not paid as overtime. For example:

     •   Ms. Harris’ October 15, 2021 paystub shows 103.50 hours worked,
         but only 11.08 hours of overtime

     •   Ms. Roberts’ August 31, 2021 paystub shows 127.90 total hours
         worked, but only 2.20 hours of overtime

     •   Ms. Kamara’s January 15, 2021 paystub shows 101.59 total hours,
         but only .42 hours of overtime



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   •   Ms. Turner’s January 14, 2022 paystub shows 103.10 hours
       worked, but only 1.53 hours of overtime

   •   Ms. Helem’s April 15, 2021 paystub shows 100.20 hours worked,
       but only 3.97 hours of overtime

   •   Ms. Kennedy’s March 31, 2021 paystub shows 109.35 hours
       worked, but only 19.78 hours of overtime

   •   Ms. Meskovic’s April 15, 2021 paystub shows 102.82 hours worked,
       but only 5.80 hours of overtime

   •   Ms. Burton’s July 15, 2021 paystub shows 126.78 hours worked,
       but only 9.42 hours of overtime

   •   Ms. Gronda’s April 15,2021 paystub shows 110.99 hours worked,
       but only 12.82 hours of overtime

   •   Ms. Perry’s September 15, 2021 paystub shows 97.76 hours worked,
       but only 2.13 hours of overtime

   •   Ms. Dinken’s January 15, 2021 paystub shows 126.02 hours
       worked, but only 12.07 hours of overtime

   •   Ms. Duncan’s October 30, 2020 paystub shows 115.62 hours worked
       but only 16.72 hours of overtime

   •   Ms. Sullivan’s January 15, 2021 paystub shows 97.40 hours
       worked, but only .80 hours of overtime

   •   Ms. Crockett’s December 30, 2021 paystub shows 112.07 hours
       worked, but only .12 hours of overtime

       22.   Loan   Processors   were   paid   an   hourly   rate   ranging   from

approximately $18.00 to $22.50 and Underwriters were paid approximately

$35.00 to $46.00 per hour during their employment. Plaintiffs workweek for

ICG was Sunday to Sunday. Plaintiffs were underpaid overtime or not paid

overtime at all from a few hours most pay periods to sometimes 20-plus hours

over a 2-year period from 2019 through 2021.

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II.    Unpaid commissions

       23.   As part of their wages for their employment as Loan Processors,

Loan Processors were paid commissions on each loan they closed, based on an

escalating scale per month. The initial scale was: $25 per loan for the first 19

loans in a month; $35 for the 20 th to 39th loan; $45 for the 40th to 49 th loan; and

$50 for each loan from 50 and above. It then changed to a different formula

depending on the number of particular loan types closed, with commissions

ranging from $150.00 to $250.00 per closed loan.

       24.   In an average month, Loan Processors should have made at least

$1,000 additional each month on commissions. While some commissions were

paid, most were not. Eventually ICG ceased paying commissions altogether,

even for loans that had already been started. For example, Ms. Burton is owed

at least 8 commissions for January 1 through 10 of 2022 alone.

III.   Unlawful layoff

       25.   From November 2021 through February 2022, Plaintiffs were laid

off from ICG in remote Zoom meetings. Based on available evidence, some

individual Zoom meetings, by themselves, included over 50 employees at a time.

In total, it appears ICG laid off between 80% to 85% of its workforce.

       26.   Based upon what Plaintiffs witnessed and learned, each time a

Plaintiff was laid off during a 30-day period (or in the aggregate over a 90-day

period) the layoff was: (i) of at least 50 employees from the “Consumer Direct

Division”; and (ii) 33% of total employees for the “Consumer Direct Division.”


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As of January 26, 2022, ICG purportedly had only 30 Loan Processors and

Underwriters remaining of 200 (or more) total in the prior 90 days.

      27.   Plaintiffs understood their “operating unit” to be the “Consumer

Direct Division.” An ICG organizational chart refers to a “Consumer Direct

Division” or similar wording. While Plaintiffs worked remotely from home

throughout the United States, they reported to and were managed by ICG’s

headquarters in Melville, New York, were paid from that location, received

human resources and administrative oversight from that location, received

assignments and direction from that location, and the “Consumer Direct

Division”   was   based   in   that   location.   Some   Plaintiffs   were   issued

“telecommuting agreements” with ICG from Melville, New York, regardless of

where they were located in the United States. Loan Processor training was

conducted remotely out of Melville, New York. Plaintiffs’ “supervisors” were all

remote and worked from home like the Loan Processors and Underwriters,

under the direction of a “manager” in Melville, New York, which is set forth on

an ICG organizational document.

      28.   Even if Plaintiffs were purportedly assigned a “branch” separate

from Melville, New York, any “branch” for which a Plaintiff was purportedly

assigned was shut down via a Zoom meeting or a series of Zoom meetings,

resulting in a layoff of at least 50 employees and at least 33% of employees at

each “branch” in a 30-day period or in the aggregate over a 90-day period. For

example, Ms. Meskovic was located closest to a purported “branch” in St. Louis,


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Missouri and she was laid off in a Zoom meeting in January 2022 that appeared

to have at least 50 employees in it by itself. Plaintiffs are aware of tens of

similar Zoom meetings across the United States. In one day in January 2022

alone, ICG apparently laid off 200 to 300 employees.

      29.     Based on available information, purported “branches” separate

from Melville, New York were not available to Plaintiffs and not separate at all,

evidencing that Melville, New York was the only true “branch” for Plaintiffs.

For example, Mr. Crockett requested to go in person a few days at a purported

Raleigh, North Carolina “branch” and was told it was not available.

      30.    Ultimately, the only real “branch” and “single site of employment”

for Plaintiffs under WARN and NY WARN was Melville, New York.

                         COUNT ONE
  OVERTIME UNDER FAIR LABOR STANDARDS ACT (ALL PLAINTIFFS
             EXCEPT MS. LUCAS AND MR. STEFANO)
                    (29 U.S.C. § 201, et seq.)

      31.    Plaintiffs (as defined in the caption to count one) incorporate

paragraphs 1 through 30 of this complaint as if fully set forth in this count.

      32.    ICG is an “employer” under the FLSA.

      33.    The FLSA requires employers to pay as overtime 1.5 times the rate of

pay to an employee for every hour worked over 40 hours in a workweek.

      34.    Plaintiffs are entitled to overtime pay from the beginning of their

employment with ICG.




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       35.    ICG knowingly and continuously failed to pay or underpaid Plaintiffs’

overtime despite that paystubs plainly show a number of hours worked that, of

necessity, required overtime.

                            COUNT TWO
    OVERTIME UNDER NY WAGE LAW (ALL PLAINTIFFS EXCEPT MS.
                    LUCAS AND MR. STEFANO)
              (N.Y. Comp. Codes R. & Regs. Tit. § 142.2.2)

       36.    Plaintiffs (as defined in the caption to count two) incorporate

paragraphs 1 through 31 as if fully set forth in this count.

       37.    Pursuant to the NY Wage Law, the New York Commissioner of Labor

has promulgated a “miscellaneous wage order” that incorporates the overtime

requirements of the FLSA:

       An employer shall pay an employee for overtime at a wage rate of 1 ½
       times the employee's regular rate in the manner and methods provided
       in and subject to the exemptions of sections 7 and 13 of 29 USC 201 et
       seq., the Fair Labor Standards Act of 1938, as amended [29 USC §§
       207, 213]; provided, however, that the exemptions set forth in section
       13(a)(2) and (a)(4) of such act shall not apply. In addition, an employer
       shall pay employees subject to the exemptions of section 13 of the Fair
       Labor Standards Act, as amended, except employees subject to section
       13(a)(2) and (a)(4) of such act, overtime at a wage rate of 1 ½ times the
       basic minimum hourly rate.

       38.    Under the NY Wage Law and the “miscellaneous wage order,”

Plaintiffs are entitled to overtime in the same amount and for the same reasons as

set forth in count one.

                            COUNT THREE
               VIOLATION OF NEW YORK LABOR LAW § 195(3)

       39.    Plaintiffs incorporate paragraphs 1 through 38 of this complaint as if

fully set forth in this count.

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       40.    New York Labor Law § 195(3) requires that an employer provide an

 employee with a statement for each pay period correctly showing, among other

 things, the amount of overtime worked and the amount of wages due. An employee

 is entitled to recover $250 per day if the employer does not comply or a maximum

 penalty of $5,000.

       41.    For most of Plaintiffs employment (and possibly all of it), ICG failed to

 provide Plaintiffs with correct pay statements under New York Labor Law § 195(3),

 easily amounting to the maximum penalty of $5,000 per Plaintiff, because the pay

 stubs fail to correctly show overtime and fail to include due commissions.

                             COUNT FOUR
   VIOLATION OF WARN AND NY WARN (NOT INCLUDING MS. HELEM)
             (29 U.S.C. § 2101; New York Labor Law § 860)

       42.    Plaintiffs (as defined in the caption to count four) incorporate

 paragraphs 1 through of the complaint 41 as if fully set forth in this count.

       43.    WARN and NY WARN require certain employers to provide 60 days’

 notice of “plant closings” and “mass layoffs” at a “single site of employment.”

       44.    Failure to provide 60 days’ notice entitles a covered employee to

 severance and the value of lost benefits for each day that notice should have been

 provided.

       45.    Plaintiffs’ layoffs were a “plant closing and “mass layoff” under WARN

 and NY WARN. WARN’s requirements for a plant closing or mass layoff are: (i) for

 a plant closing, shutdown of an operating unit resulting in loss of employment for

 50 or more employees in a 30-day period at a single site of employment; and (ii) for a


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 mass layoff, reduction in force at a “single site of employment” of 33% of active

 employees and at least 50 employees, except if 500 or more employees are laid off

 then the 33% requirement does not apply. NY WARN’s requirements for a plant

 closing or layoff are the same except, the number for a plant closing is 25 employees

 and the number for a mass layoff is 25 employees, with the same exception as

 WARN but at 250 employees.

       46.    The “Consumer Direct Division” is an “operating unit” under WARN

 and NY WARN headquartered in Melville, New York. Separately, Loan Processors

 and Underwriters are “operating units” under WARN and NY WARN.

       47.    Plaintiffs were remote, work-from-home employees under WARN and

 NY WARN, meaning their “single site of employment” under WARN and NY WARN

 is the location from which they “to which they are assigned as their home base, from

 which their work is assigned, or to which they report.” Melville, New York qualifies

 at least on the latter two options and Plaintiffs considered Melville, New York their

 “home base” because of the remote nature of their work.

       48.    During each 30-day period covering each of Plaintiffs’ layoffs, at least

 50 employees were laid off from ICG comprising at least 33% of the workforce who

 received direction from or ultimately reported to Melville, New York, or at least 500

 employees overall connected to Melville, New York in the same manner. Even if this

 were not true, any “branch” to which a Plaintiff was purportedly assigned

 independently qualifies as a “single site of employment” with at least 50 layoffs and




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 33% of active employees being laid off in a 30-day period in which a Plaintiff was

 laid off.

        49.      WARN and NY WARN contains catchall provisions ensuring that

 employers cannot evade their protections by undertaking “plant closings” or “mass

 layoffs” in stages or structuring their “single sites of employment” to evade WARN

 and NY WARN:

        For purposes of this section, in determining whether a plant closing or
        mass layoff has occurred or will occur, employment losses for 2 or more
        groups at a single site of employment, each of which is less than the
        minimum number of employees specified in section 2101(a)(2) or (3) of
        this title but which in the aggregate exceed that minimum number,
        and which occur within any 90-day period shall be considered to be a
        plant closing or mass layoff unless the employer demonstrates that the
        employment losses are the result of separate and distinct actions and
        causes and are not an attempt by the employer to evade the
        requirements of this chapter.

                                       …

        The term “single site of employment” may also apply to truly unusual
        organizational situations where the above criteria do not reasonably
        apply. The application of this definition with the intent to evade the
        purpose of the Act to provide notice is not acceptable.

 To the extent a layoff of any particular Plaintiff is not covered under WARN and NY

 WARN by the allegations above, these catchall provisions encompass such

 Plaintiff(s).




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                          COUNT FIVE
    VIOLATION OF NY WAGE/HOUR LAW: UNPAID COMMISSION (MS.
   MESCOVIC, MS. BURTON, MS. KAMARA, BRITTANY MS. HARRIS, MS.
              KENNEDY, MS. ROBERTS, MR. STEFANO)
                   (NEW YORK LABOR LAW § 198)

        50.    Plaintiffs (as defined in the caption to count five) incorporate

 paragraphs 1 through 49 of the complaint as if fully set forth in this count.

        51.    New    York Labor Law       § 191-a(a) defines “wage” to include

 “commission.” A “bonus” based on performance, such as that given by ICG to

 Plaintiffs, is a “commission” and therefore a “wage” under New York Labor Law.

        52.    As such, ICG’s failure to pay Plaintiffs their due commissions is a

 violation of New York Labor Law § 198, entitling Plaintiffs to the same penalties as

 for the overtime violation set forth above.

                               DEMAND FOR RELIEF

        Pursuant to counts one through five of this complaint, Plaintiffs demand

 relief as follows:

        (a)    Past due overtime, liquidated damages, pre and post-judgment
        interest, attorneys’ fees, and costs under the FLSA and the NY Wage
        Law

        (b)   $5,000 per Plaintiff, plus attorneys’ fees and costs, under New
        York Labor Law § 195(3)

        (c)   60 days’ severance and the value of benefits from the date each
        Plaintiff should have been notified of their layoff under WARN and NY
        WARN, with pre and post-judgment interest, attorneys’ fees, and costs

        (d)   A $500 penalty per Plaintiff, per each day for which notice was
        required under WARN and NY WARN




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          (e)    All due commissions as wages under NY Wage Law, plus
          liquidated damages, pre and post judgment interest, attorneys’ fees,
          and costs.

                                 JURY DEMAND

          Pursuant to Fed.R.Civ.P. 38, Plaintiffs demand trial by jury on all issues so

 triable.

                      RELATED CASES CERTIFICATION

          Pursuant to L.Civ.R. 13(a)(1), the following cases may be “related” as that

 term is defined in the rule: Lucas v. Intercontinental Capital, 2:22-cv-00591 (Feb. 1,

 2022).

 Dated: February 15, 2022

                                          ____________________________________
                                                JUSTIN D. SANTAGATA, ESQ.
                                                ATTORNEY FOR PLAINTIFFS




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